                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

JOSEPH FOTE, Individually and on Behalf of All ) Case No.: 19-cv-207
Others Similarly Situated,                     )
                                               ) CLASS ACTION COMPLAINT
                                               )
               Plaintiffs,                     )
       vs.                                     )
                                               ) Jury Trial Demanded
HALSTED FINANCIAL SERVICES LLC and )
RESURGENT CAPITAL SERVICES LIMITED )
                                               )
PARTNERSHIP,                                   )
                                               )
               Defendants.                     )

                                         INTRODUCTION
       1.       This class action seeks redress for collection practices that violate the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”), and the Wisconsin Consumer

Act, chapter 427, Wisconsin Statutes (the “WCA”).

                                 JURISDICTION AND VENUE

       2.       The court has jurisdiction to grant the relief sought by the Plaintiff pursuant to 15

U.S.C. § 1692k, and 28 U.S.C. §§ 1331, 1337, and 1367. Venue in this District is proper in that

Defendant directed its collection efforts into the District.

                                             PARTIES

       3.       Plaintiff Joseph Fote is an individual who resides in the Eastern District of

Wisconsin (Milwaukee County).

       4.       Plaintiff is a “consumer” as defined in the FDCPA, 15 U.S.C. § 1692a(3), in that

Defendant sought to collect from him a debt allegedly incurred for personal, family or household

purposes.

       5.       Plaintiff is also a “customer” as defined in the Wisconsin Consumer Act, Wis.

Stat. § 421.301(17), in that he engaged in a consumer credit transaction.




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         6.       Defendant Halsted Financial Services, LLC (“HFS”) is a foreign limited liability

company with its principal place of business located at 8001 North Lincoln Avenue, Suite 500,

Skokie, Illinois 60077.

         7.       HFS is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

         8.       HFS is engaged in the business of collecting debts owed to others and incurred for

personal, family or household purposes.

         9.       HFS is a debt collector as defined in 15 U.S.C. § 1692a and Wis. Stat. §

427.103(3).

         10.      Defendant Resurgent Capital Services Limited Partnership (“Resurgent”) is a

foreign limited partnership with its principal place of business located at 55 Beattie Place Suite

110 MS 300, Greenville, South Carolina 29601.

         11.      Resurgent is engaged in the business of collecting debts owed to others and

acquired after default, which were incurred for personal, family or household purposes.

         12.      Resurgent services accounts for non-party LVNV Funding, LLC (“LVNV”), a

limited liability company that is in the business of purchasing or otherwise acquiring consumer

debts.

         13.      Upon information and belief, when LVNV purchases debts, Resurgent receives

the electronic data on the account directly from the original creditor.

         14.      Where LVNV purchases debts, Resurgent is able and has all management ability

to collect on the account, to file suit on the account, to not file suit on the account, and generally

to do whatever they feel would be the appropriate action for the account.




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       15.     Resurgent operates as a collection agency for some of the accounts for which it

acts as a master servicer, and refers other accounts to other collection agencies and law firms.

       16.     Resurgent is a “debt collector” as defined in 15 U.S.C. § 1692a and Wis. Stat. §

427.103(3).

       17.     A company meeting the definition of a “debt collector” (here, Resurgent) is

vicariously liable for the actions of a second company (here, HFS) collecting debts on its behalf.

Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 325-26 (7th Cir. 2016) (assignees

who are “debt collectors” are responsible for the actions of those collecting on their behalf)

(citing Pollice, 225 F.3d at 404-05).


                                             FACTS

       18.     On or about April 11, 2018, HFS mailed a debt collection letter to Plaintiff

regarding an alleged debt, allegedly owed to LVNV, and allegedly originally owed to “CREDIT

ONE BANK, N.A.” (“Credit One”). A copy of this letter is attached to this complaint as Exhibit

A.

       19.     Upon information and belief, the alleged debt referenced in Exhibit A is an

alleged Credit One credit card account, used only for personal, family or household purposes,

including but not limited to purchases of household goods and services.

       20.     Upon information and belief, Exhibit A is a form letter, generated by computer,

and with the information specific to Plaintiff inserted by computer.

       21.     Exhibit A includes the following:




Exhibit A.




                                                 3

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       22.     The above language on a collection letter is a representation that the debt collector

holds a Wisconsin Collection Agency License, pursuant to Wis. Stat. § 218.04 and Wis. Admin.

Code § DFI-Bkg. 74.

       23.     Third-party debt collectors who collect debts on behalf of others, like HFS, are

“collection agencies” within everyday usage of the term. E.g., Torres, 2018 U.S. Dist. LEXIS

49885, at *4 (N.D. Ill. Mar. 27, 2018) (“Both LVNV and [Nations Recovery Center, Inc.] hold a

collection agency license from the State of Illinois.”).

       24.     Third-party debt buyers, like LVNV, and their master servicing agents, like

Resurgent, are also “collection agencies” within everyday usage of the term. E.g., Torres, 2018

U.S. Dist. LEXIS 49885, at *4 (N.D. Ill. Mar. 27, 2018) (“Both LVNV and [Nations Recovery

Center, Inc.] hold a collection agency license from the State of Illinois.”); see also, LVNV

Funding, LLC v. Finch, 2017 Md. App. LEXIS 942, at *28 (Md. Court of Special Appeals Sept.

14, 2017) (“Even though LVNV disagrees with the circuit court’s ultimate conclusion, there was

no dispute of material fact relevant to whether LVNV was a ‘collection agency’ under the

[Maryland Collection Agency Licensing Act].”).

       25.     The unsophisticated consumer would understand the representation in Exhibit A

that “[t]his Collection Agency is licensed by the Division of Banking” applied to LVNV and/or

its servicing agent, Resurgent, as well as HFS.

       26.     HFS does not, in fact, hold a Wisconsin Collection Agency License.

       27.     HFS is not licensed by the Division of Banking or any other Wisconsin

governmental agency.

       28.     HFS was not licensed by the Division of Banking or any other Wisconsin

governmental agency at the time Exhibit A was sent to Plaintiff.



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       29.     HFS is not listed on the Division of Banking’s website that lists all collection

agencies     that    currently     hold     a    Wisconsin       collection    agency      license.

http://www.wdfi.org/fi/lfs/licensee_lists/Default.asp?Browse=CA (visited February 8, 2019).

       30.     A representative of the Division of Banking confirmed to Plaintiff’s counsel over

the telephone that HFS did not hold a Wisconsin collection agency license on the date that

Exhibit A was mailed.

       31.     Neither LVNV nor Resurgent, in fact, hold a Wisconsin Collection Agency

License.

       32.     Neither LVNV nor Resurgent is not licensed by the Division of Banking or any

other Wisconsin governmental agency.

       33.     Neither LVNV nor Resurgent was licensed by the Division of Banking or any

other Wisconsin governmental agency at the time Exhibit A was sent to Plaintiff.

       34.     Neither LVNV nor Resurgent is listed on the Division of Banking’s website that

lists all collection agencies that currently hold a Wisconsin collection agency license.

http://www.wdfi.org/fi/lfs/licensee_lists/Default.asp?Browse=CA (visited February 8, 2019).

       35.     A representative of the Division of Banking confirmed to Plaintiff’s counsel over

the telephone that neither LVNV nor Resurgent held a Wisconsin collection agency license on

the date that Exhibit A was mailed.

       36.     A false statement about a debt collector’s licensing status is a material false

statement. “It suggests that [the debt collector] has been approved by the state, thereby enhancing

in the mind of the unsophisticated consumer [the debt collector’s] legitimacy and power to

collect the debt.” Radaj v. ARS Nat. Services, Inc., No. 05 C 773, 2006 U.S. Dist. LEXIS 68883

at *10; 2006 WL 2620394 at *3 (E.D. Wis. Sep. 12, 2006); Derosia v. Credit Corp. Sols., 2018



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U.S. Dist. LEXIS 50016, at *7-8 (E.D. Wis. Mar. 27, 20180 (citing Radaj); Seeger v. Aid

Assocs., 2007 U.S. Dist. LEXIS 22824 at *13, 2007 WL 1029528 (E.D. Wis. Mar. 29, 2007)

(“this court believes that the false statement used by Plaza that it was licensed by the state of

Wisconsin, is precisely the kind of misrepresentation that Congress sought to prohibit when it

passed the FDCPA.”).

       37.     Resurgent is liable, directly or vicariously, for its debt collectors’ FDCPA and

WCA violations. Janetos, 825 F.3d at 325-26.

       38.     Plaintiff was confused by Exhibit A.

       39.     The unsophisticated consumer would be confused by Exhibit A.

       40.     Plaintiff had to spend time and money investigating Exhibit A.

                                          The FDCPA

       41.     The FDCPA creates substantive rights for consumers; violations cause injury to

consumers, and such injuries are concrete and particularized. Derosia v. Credit Corp Solutions,

2018 U.S. Dist. LEXIS 50016, at *12 (E.D. Wis. Mar. 27, 2018) (“‘a plaintiff who receives

misinformation form a debt collector has suffered the type of injury the FDCPA was intended to

protect against’ and ‘satisfies the concrete injury in fact requirement of Article III.’”) (quoting

Pogorzelski v. Patenaude & Felix APC, 2017 U.S. Dist. LEXIS 89678, 2017 WL 2539782, at *3

(E.D. Wis. June 12, 2017)); Spuhler v. State Collection Servs., No. 16-CV-1149, 2017 U.S. Dist.

LEXIS 177631 (E.D. Wis. Oct. 26, 2017) (“As in Pogorzelski, the Spuhlers’ allegations that the

debt collection letters sent by State Collection contained false representations of the character,

amount, or legal status of a debt in violation of their rights under the FDCPA sufficiently pleads

a concrete injury-in-fact for purposes of standing.”); Lorang v. Ditech Fin. LLC, 2017 U.S. Dist.

LEXIS 169286, at *6 (W.D. Wis. Oct. 13, 2017) (“the weight of authority in this circuit is that a



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misrepresentation about a debt is a sufficient injury for standing because a primary purpose of

the FDCPA is to protect consumers from receiving false and misleading information.”); Neeley

v. Portfolio Recovery Assocs., LLC, 268 F. Supp. 3d 978, 982 (S.D. Ind. Aug. 2, 2017)

(“[N]othing in Spokeo overruled the Seventh Circuit’s decisions that emphasized and affirmed

the power of Congress to pass legislation creating new rights, which if violated, would confer

standing under Article III.”) (alteration in original) (quoting Saenz v. Buckeye Check Cashing,

2016 U.S. Dist. LEXIS 127784, at *5 (N.D. Ill. Sep. 20, 2016); Qualls v. T-H Prof’l & Med.

Collections, Ltd., 2017 U.S. Dist. LEXIS 113037, at *8 (C.D. Ill. July 20, 2017) (“Courts in this

Circuit, both before and after Spokeo, have rejected similar challenges to standing in FDCPA

cases.”) (citing “Hayes v. Convergent Healthcare Recoveries, Inc., 2016 U.S. Dist. LEXIS

139743 (C.D. Ill. 2016)); Bock v. Pressler & Pressler, LLP, No. 11-7593, 2017 U.S. Dist. LEXIS

81058 *21 (D.N.J. May 25, 2017) (“through [s]ection 1692e of the FDCPA, Congress

established ‘an enforceable right to truthful information concerning’ debt collection practices, a

decision that ‘was undoubtedly influenced by congressional awareness that the intentional

provision of misinformation’ related to such practices, ‘contribute[s] to the number of personal

bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual privacy,”);

Quinn v. Specialized Loan Servicing, LLC, No. 16 C 2021, 2016 U.S. Dist. LEXIS 107299 *8-13

(N.D. Ill. Aug. 11, 2016) (rejecting challenge to Plaintiff’s standing based upon alleged FDCPA

statutory violation); Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 U.S. Dist.

LEXIS 89258 *9-10 (N.D. Ill. July 11, 2016) (“When a federal statute is violated, and especially

when Congress has created a cause of action for its violation, by definition Congress has created

a legally protected interest that it deems important enough for a lawsuit.”); Church v. Accretive

Health, Inc., No. 15-15708, 2016 U.S. App. LEXIS 12414 *7-11 (11th Cir. July 6, 2016) (same);



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see also Mogg v. Jacobs, No. 15-CV-1142-JPG-DGW, 2016 U.S. Dist. LEXIS 33229, 2016 WL

1029396, at *5 (S.D. Ill. Mar. 15, 2016) (“Congress does have the power to enact statutes

creating legal rights, the invasion of which creates standing, even though no injury would exist

without the statute,” (quoting Sterk v. Redbox Automated Retail, LLC, 770 F.3d 618, 623 (7th

Cir. 2014)). For this reason, and to encourage consumers to bring FDCPA actions, Congress

authorized an award of statutory damages for violations. 15 U.S.C. § 1692k(a).

       42.     Moreover, Congress has explicitly described the FDCPA as regulating “abusive

practices” in debt collection. 15 U.S.C. §§ 1692(a) – 1692(e). Any person who receives a debt

collection letter containing a violation of the FDCPA is a victim of abusive practices. See 15

U.S.C. §§ 1692(e) (“It is the purpose of this subchapter to eliminate abusive debt collection

practices by debt collectors, to insure that those debt collectors who refrain from using abusive

debt collection practices are not competitively disadvantaged, and to promote consistent State

action to protect consumers against debt collection abuses”).

       43.     15 U.S.C. § 1692e generally prohibits “any false, deceptive, or misleading

representation or means in connection with the collection of any debt.”

       44.     15 U.S.C. § 1692e(1) specifically prohibits the false representation that “the debt

collector is vouched for, bonded by, or affiliated with the United States or any State, including

the use of any badge, uniform, or facsimile thereof.”

       45.     15 U.S.C. § 1692e(9) specifically prohibits “the use or distribution of any written

communication which simulates or is falsely represented to be a document authorized, issued, or

approved by any court, official, or agency of the United States or any State, or which creates a

false impression as to its source, authorization, or approval.”


                                             The WCA


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       46.      The Wisconsin Consumer Act (“WCA”) was enacted to protect consumers against

unfair, deceptive, and unconscionable business practices and to encourage development of fair

and economically sound practices in consumer transactions. Wis. Stat. § 421.102(2).

       47.      The Wisconsin Supreme Court has favorably cited authority finding that the

WCA “goes further to protect consumer interests than any other such legislation in the country,”

and is “probably the most sweeping consumer credit legislation yet enacted in any state.” Kett v.

Community Credit Plan, Inc., 228 Wis. 2d 1, 18 n.15, 596 N.W.2d 786 (1999) (citations

omitted).

       48.      To further these goals, the Act’s protections must be “liberally construed and

applied.” Wis. Stat. § 421.102(1); see also § 425.301.

       49.      “The basic purpose of the remedies set forth in Chapter 425, Stats., is to induce

compliance with the WCA and thereby promote its underlying objectives.” First Wisconsin

Nat’l Bank v. Nicolaou, 113 Wis. 2d 524, 533, 335 N.W.2d 390 (1983). Thus, private actions

under the WCA are designed to both benefit consumers whose rights have been violated and also

competitors of the violators, whose competitive advantage should not be diminished because of

their compliance with the law.

       50.      To carry out this intent, the WCA provides Wisconsin consumers with an array of

protections and legal remedies. The Act contains significant and sweeping restrictions on the

activities of those attempting to collect debts. See Wis. Stats. § 427.104.

       51.      The Act limits the amounts and types of additional fees that may be charged to

consumers in conjunction with transactions. Wis. Stats. § 422.202(1). The Act also provides

injured consumers with causes of action for class-wide statutory and actual damages and

injunctive remedies against defendants on behalf of all customers who suffer similar injuries. See




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Wis. Stats. §§ 426.110(1); § 426.110(4)(e). Finally, “a customer may not waive or agree to

forego rights or benefits under [the Act].” Wis. Stat. § 421.106(1).

        52.    Consumers’ WCA claims under Wis. Stat. § 427.104(1) are analyzed using the

same methods as claims under the FDCPA. Indeed, the WCA itself requires that the court

analyze the WCA “in accordance with the policies underlying a federal consumer credit

protection act,” including the FDCPA. Wis. Stat. § 421.102(1).

        53.    Further, the Wisconsin Supreme Court has held that WCA claims relating to debt

collection are to be analyzed under the “unsophisticated consumer” standard. Brunton v. Nuvell

Credit Corp., 785 N.W.2d 302, 314-15. In Brunton, the Wisconsin Supreme Court explicitly

adopted and followed the “unsophisticated consumer” standard, citing and discussing Gammon

v. GC Servs. Ltd. P’ship, 27 F.3d 1254, 1257 (7th Cir. 1994). Id.

        54.    Wis. Stat. § 427.104(1)(k) specifically prohibits a debt collector from using “a

communication which simulates legal or judicial process or which gives the appearance of being

authorized, issued or approved by a government, governmental agency or attorney−at−law when

it is not.”

                                      COUNT I – FDCPA

        55.    Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

        56.    Exhibit A falsely states that: “This collection agency is licensed by the Division

of Banking” for the State of Wisconsin.

        57.    Exhibit A falsely represents that HFS is licensed as a collection agency pursuant

to Wis. Stat. § 218.04 and Wis. Admin. Code Ch. DFI-Bkg. 74, and falsely gives the appearance

of being authorized or approved by a governmental agency.




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       58.     Exhibit A falsely represents that LVNV and/or Resurgent is licensed as a

collection agency pursuant to Wis. Stat. § 218.04 and Wis. Admin. Code Ch. DFI-Bkg. 74, and

falsely gives the appearance of being authorized or approved by a governmental agency.

       59.     Defendants violated 15 U.S.C. §§ 1692e, 1692e(1), and 1692e(9).

                                      COUNT II – WCA

       60.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       61.     Exhibit A falsely represents that HFS is licensed as a collection agency pursuant

to Wis. Stat. § 218.04 and Wis. Admin. Code Ch. DFI-Bkg. 74, and falsely gives the appearance

of being authorized or approved by a governmental agency.

       62.     Exhibit A falsely represents that LVNV and/or Resurgent is licensed as a

collection agency pursuant to Wis. Stat. § 218.04 and Wis. Admin. Code Ch. DFI-Bkg. 74, and

falsely gives the appearance of being authorized or approved by a governmental agency.

       63.     Defendants violated Wis. Stat. § 427.104(1)(k).

                                  CLASS ALLEGATIONS

       64.     Plaintiffs bring this action on behalf of a Class, consisting of (a) all natural

persons in the State of Wisconsin (b) who were sent a collection letter by HFS, (c) stating that

“This collection agency is licensed by the Division of Banking in the Wisconsin Department of

Financial Institutions,” (d) where the letter was attempting to collect an alleged debt owed to

LVNV, (e) and the alleged debt was incurred for personal, family or household purposes, (f) and

the letter was mailed between February 8, 2018 and February 8, 2019, inclusive (g) and was not

returned by the postal service.




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       65.     The Class is so numerous that joinder is impracticable. Upon information and

belief, there are more than 50 members of the Class.

       66.     There are questions of law and fact common to the members of the class, which

common questions predominate over any questions that affect only individual class members.

The predominant common question is whether Exhibit A violates the FDCPA and/or the WCA.

       67.     Plaintiff’s claims are typical of the claims of the Class members. All are based on

the same factual and legal theories.

       68.     Plaintiff will fairly and adequately represent the interests of the Class members.

Plaintiff has retained counsel experienced in consumer credit and debt collection abuse cases.

       69.     A class action is superior to other alternative methods of adjudicating this dispute.

Individual cases are not economically feasible.

                                         JURY DEMAND

       70.     Plaintiff hereby demands a trial by jury.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

the Class and against Defendants for:

       (a)     actual damages;

       (b)     statutory damages;

       (c)     attorneys’ fees, litigation expenses and costs of suit; and

       (d)     such other or further relief as the Court deems proper.

Dated: February 8, 2019.


                                                       ADEMI & O’REILLY, LLP

                                              By:      /s/ Mark A. Eldridge___

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